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                   UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION


SPEECH TRANSCRIPTION, LLC,           §
                                     §
                Plaintiff,           §
                                     §
                                       Civil Action No. 6:23-CV-376-AM
     v.                              §
                                     §
CISCO SYSTEMS, INC.                  §
                                     §
                Defendant.           §


  CISCO SYSTEMS INC.’S MOTION TO DISMISS THE COMPLAINT OF SPEECH
         TRANSCRIPTION, LLC PURSUANT TO FED. R. CIV. P. 12(C)
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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


SPEECH TRANSCRIPTION, LLC,                         §
                                                   §
                       Plaintiff,                  §
                                                   §
                                                     Civil Action No. 6:23-CV-376
       v.                                          §
                                                   §
CISCO SYSTEMS, INC.                                §
                                                   §
                       Defendant.                  §


   CISCO SYSTEMS INC.’S MOTION TO DISMISS THE COMPLAINT OF SPEECH
          TRANSCRIPTION, LLC PURSUANT TO FED. R. CIV. P. 12(C)

       I.      INTRODUCTION

       This Complaint alleges the infringement of a patent directed to a network security system

that receives and executes security software from multiple vendors. The claims of the asserted

patent are directed to nothing more than the abstract idea of a computer-implemented intermediary

to receive and execute security software from multiple vendors. As a result, the claims are patent-

ineligible under Alice Corp. Pty. v. CLS Bank International, 573 U.S. 208 (2014) and its progeny.

       Further, Cisco Systems, Inc. (“Cisco”) does not design or sell network security

architectures. Cisco does not, and Plaintiff Speech Transcription, LLC (“Speech Transcription” or

“Plaintiff”) cannot plausibly allege, that Cisco provides a “unified security management system”

for its customers as is alleged in the Complaint. Instead, Plaintiff provides a conclusory claim chart

alleging infringement of a single system claim by stitching together screen captures from Cisco’s

marketing documents outlining generalized network design principles under the umbrella term

“Cisco SAFE.” But Cisco SAFE is not a product—it is a set of generic and non-specific guidelines,

references, and organizational frameworks that third parties can use to design secure networks.



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None of the cited Cisco documents identify any actual product (or bundle of products) offered by

Cisco, let alone a product that can plausibly be alleged to satisfy each limitation of the asserted

claim. Plaintiff points either to hypothetical, fictitious business entities or to unexplained “agents,”

and not to Cisco, as responsible for satisfying the elements of the charted system claim. But

infringement of a system claim cannot be divided between multiple parties. In the absence of an

allegation of infringement by a Cisco product, Plaintiff’s allegations of direct infringement must

be dismissed with prejudice.

        Plaintiff’s claims of indirect infringement, both inducement and contributory, and its claim

for willful infringement, fare no better. The Complaint contains no specific allegations to plausibly

support Plaintiff’s claims of indirect infringement, but only conclusory statements. And Plaintiff

additionally fails to plead any pre-suit knowledge, as necessary to support a claim of willful

infringement. These indirect infringement claims must also be dismissed with prejudice.

        II.     LEGAL STANDARD

                        Alice Prohibits Patenting Claims That Merely Require Generic
                        Computer Implementation of An Abstract Idea

        In defining subject matter eligible for patenting, 35 U.S.C. § 101 contains “an important

implicit exception: Laws of nature, natural phenomena, and abstract ideas are not patentable.”

Alice, 573 U.S. at 216. Section 101 prohibits patenting claims “which merely require generic

computer implementation” of an abstract idea. Id. at 221. In Alice, the Supreme Court set forth a

two-step test for determining whether a claim is directed to such ineligible subject matter.

        Alice step one. The first step is to “determine whether the claims at issue are directed to

one of those patent-ineligible concepts,” e.g., an abstract idea. Id. at 217. “Alice step one presents

a legal question that can be answered based on the intrinsic evidence” and “does not require an

evaluation of the prior art or facts outside of the intrinsic record.” CardioNet, LLC v. InfoBionic,



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Inc., 955 F.3d 1358, 1372 (Fed. Cir. 2020). “Under this inquiry, [courts] evaluate the focus of the

claimed advance over the prior art to determine if the character of the claim as a whole, considered

in light of the specification, is directed to excluded subject matter.” Trading Techs. Int’l, Inc. v.

IBG LLC, 921 F.3d 1378, 1384 (Fed. Cir. 2019) (quotation omitted). Where a claim recites “a

desired function or outcome, without providing any limiting detail that confines the claim to a

particular solution to an identified problem,” the “functional nature of the claim confirms that it is

directed to an abstract idea.” Affinity Labs of Tex., LLC v. Amazon.com, Inc., 838 F.3d 1266, 1269

(Fed. Cir. 2016).

       Alice step two. If a claim is directed to ineligible subject matter, the second step is to

“determine whether [any] additional elements transform the nature of the claim into a patent-

eligible application” by reciting “an inventive concept—i.e., an element or combination of

elements that is sufficient to ensure that the patent in practice amounts to significantly more than

a patent upon the ineligible concept itself.” Alice, 573 U.S. at 217–18 (quotations omitted). Even

if “the techniques claimed are groundbreaking, innovative, or even brilliant, [] that is not enough

for eligibility” if “the advance lies entirely in the realm of abstract ideas.” SAP Am., Inc. v.

InvestPic, LLC, 898 F.3d 1166, 1163 (Fed. Cir. 2018). “What is needed is an inventive concept in

the non-abstract application realm.” Id. at 1168. The “inquiry is not whether the claimed invention

as a whole is unconventional or non-routine,” but “whether the claim limitations other than the

invention’s use of the ineligible concept to which it was directed were well-understood, routine

and conventional.” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1290 (Fed. Cir. 2018).

       The two-step Alice inquiry is a legal one, which may be decided based on the “intrinsic

evidence from the specification without need for ‘extraneous fact finding outside the record.’”

Secured Mail Sols., LLC v. Universal Wilde, Inc., 873 F.3d 905, 912 (Fed. Cir. 2017) (internal




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citation omitted). Accordingly, this Court, like many others, has addressed patent eligibility at the

Rule 12 stage. See Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 847

(E.D. Tex. 2014); Network Architecture Innovations LLC v. CC Network Inc., 2017 WL 1398276,

at *7 (E.D. Tex. Apr. 18, 2017); FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1097

(Fed. Cir. 2016).

                        Rule 12(c) Motion for Judgment on the Pleadings

        “A motion for judgment on the pleadings under Rule 12(c) is subject to the same standard

as a motion to dismiss under Rule 12(b)(6).” Doe v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir.

2008). To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is not

plausible unless the “plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at

556). In making this assessment, courts may consider “the complaint, any documents attached to

the complaint, and any documents attached to the motion to dismiss that are central to the claim

and referenced by the complaint.” Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d

383, 387 (5th Cir. 2010). The court must then decide whether those facts state a claim for relief

that is plausible on its face. Bowlby v. City of Aberdeen, 681 F.3d 215, 219 (5th Cir. 2012). But

courts “are not bound to accept as true a legal conclusion couched as a factual allegation,” and

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to meet the plausibility standard. Ashcroft, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 555).

                        Direct and Indirect Patent Infringement

        To state a claim for direct infringement, a plaintiff must explicitly plead facts to plausibly


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support the assertion that a defendant “without authority makes, uses, offers to sell, or sells any

patented invention…during the term of the patent.” 35 U.S.C. § 271(a); see also Fed. R. Civ. P.

8(a); Ruby Sands LLC v. Am. Nat’l Bank of Tex., 2:15-cv-1955-JRG, 2016 WL 3542430, at *2

(E.D. Tex. June 28, 2016). The Federal Circuit has recognized that its “cases have applied joint

infringement to method claims and not system claims.” See Lyda v. CBS Corp., 838 F.3d 1331,

1339 (Fed. Cir. 2016) (emphasis added) (citing Centillion Data Sys. LLC v. Qwest Commc’ns Int’l

Inc., 631 F.3d 1279, 1284 (Fed. Cir. 2011)). Instead, “direct infringement by use of a system claim

requires a party ... to use each and every ... element of a claimed system.” Centillion, 631 F.3d at

1284 (internal quotation marks and brackets omitted); Intellectual Ventures I LLC v. Motorola

Mobility LLC, 870 F.3d 1320, 1328 (Fed. Cir. 2017). “[T]o use a system for purposes of

infringement, a party must put the invention into service, i.e., control the system as a whole and

obtain benefit from it.” Id. (internal quotation marks and citation omitted). When the complaint

fails to allege that the defendant uses (for system claims) or controls (for method claims) each

element of the claim, claims of direct infringement are not plausible and should be dismissed. See

De La Vega v. Microsoft Corp., No. W-19-CV-00612-ADA, 2020 WL 3528411, at *7 (W.D. Tex.

Feb. 11, 2020); AlexSam, Inc. v. Aetna, Inc., No. 3:19-CV-01025 (VAB), 2020 WL 5502323, at

*15 (D. Conn. Sept. 11, 2020).

       To succeed on a claim of induced infringement, a plaintiff must allege facts showing that

defendant: (1) had actual knowledge of the patent; (2) actively and knowingly aided and abetted a

third-party to directly infringe the patent; and (3) had specific intent and action to induce

infringement. See DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1305 (Fed. Cir. 2006); see also

Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1926 (2015). The Supreme Court has held

that “induced infringement under § 271(b) requires knowledge that the induced acts constitute




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patent infringement.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011).

       To succeed on a contributory infringement claim, Plaintiff must allege facts showing that

defendant: (1) directly infringed, (2) had knowledge of the patent, (3) that the component has no

substantial non–infringing uses, and (4) that the component is a material part of the invention. See

35 U.S.C. § 271(c); Iron Oak Techs., LLC v. Acer Am. Corp., No. 6:17-cv-00143-RP-JCM, 2017

WL 9477677, at *6-7 (W.D. Tex. Nov. 28, 2017). Of course, a claim for either induced or

contributory infringement also requires an underlying act of direct infringement. See Qwikcash,

LLC v. Blackhawk Network Holdings, Inc., No. 4:19-CV-876-SDJ, 2020 WL 6781566, at *5 (E.D.

Tex. Nov. 17, 2020) (“Where a plaintiff has not adequately pleaded an underlying act of direct

infringement, theories of indirect infringement must be dismissed.”).

       Finally, to demonstrate willful infringement, a plaintiff must show “[t]he sort of conduct

warranting enhanced damages has been variously described ... as willful, wanton, malicious, bad-

faith, deliberate, consciously wrongful, flagrant, or—indeed—characteristic of a pirate.” Halo

Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 103-04 (2016). To sufficiently plead willful

infringement, “a plaintiff must allege facts plausibly showing that as of the time of the claim’s

filing, the accused infringer: (1) knew of the patent-in-suit; (2) after acquiring that knowledge, it

infringed the patent; and (3) in doing so, it knew, or should have known, that its conduct amounted

to infringement of the patent.” Parity Networks, LLC v. Cisco Sys., Inc., No. 6:19-cv-209-ADA,

2019 WL 3940952, at *3 (W.D. Tex. July 26, 2019) (citations omitted).

       III.    STATEMENT OF FACTS

       Speech Transcription’s Complaint alleges that Cisco “sells, advertises, offers for sale, uses,

or otherwise provides exemplary products, including at least the Cisco SAFE architecture” as

infringing at least Claim 14 of U.S. Patent No. 8,938,799 (the “ʼ799 Patent” or “Asserted Patent”).

See Dkt. 1, ¶ 27. The Complaint does not name any actual Cisco product as infringing, but instead


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points to the term “Cisco SAFE” as used in Cisco’s marketing documents as the “exemplary

product.” Id. Plaintiff’s infringement chart relies exclusively on out-of-context excerpts from two

Cisco documents. The first is a 2010 document titled “SAFE Overview Guide” (“SAFE Overview

Guide”), which is attached as Exhibit 1 to this brief. See Ex. 1. The second document is Chapter

11 from a 2010 document titled “Cisco SAFE Reference Guide” (“SAFE Reference Guide”)

attached as Exhibit 2 to this brief. See Ex. 2.

       Critically, as Plaintiff’s cited documents indicate, Cisco SAFE is not a product. Rather,

Cisco SAFE is a “reference model” which “provides guidance to common business functions that

require security capabilities.” See Ex. 1 at 6. “Cisco SAFE” refers to a set of design principles,

best practices, and organizational framework for approaching network security. See id. (“SAFE is

not a single answer. The model is a reference for common threats, risks, and policies across the

business of a company.”); see also Ex. 2 at 1-1 (executive summary stating that “Cisco SAFE

provides the design and implementation guidelines for building secure and reliable network

infrastructures…”). Plaintiff’s cited documents only confirm that Cisco does not sell “Cisco

SAFE” either as a standalone product or as a bundle of individual Cisco products.

       Plaintiff attaches an infringement chart attempting to map system Claim 14 of the ʼ799

Patent to marketing documents referencing Cisco SAFE. The text of Claim 14 is provided below

with relevant text bolded:

                                             Claim 14
 Preamble          A security subsystem configurable between a network and a host of an
                   endpoint, the security subsystem comprising computing resources for
                   providing:
 Limitation (a)    an open platform for receiving and executing security function software
                   modules from multiple vendors for providing defense functions for
                   protection of the host.

       The preamble of Claim 14 recites “[a] security subsystem configurable between a network




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and a host of an endpoint [i.e., a laptop or smartphone]” comprising functionalities addressed in

subsequent limitation (a). For this preamble, Plaintiff’s claim chart relies general statements

describing Cisco SAFE as “security reference architecture” that “logically maps business flows to

security capabilities” and “help[s] you design a secure infrastructure,” as well as Figures 28 and 3

of the SAFE Overview Guide, though relevant portions of Figure 3 were cropped in the claim

chart. Those two figures are provided in full at Exhibit 3 to this motion. See Ex. 3.

       Plaintiff also relies on portions of the document stating that Cisco SAFE design principles

are “compatible” with various products that Cisco offers, like CS-MARS or CSM. Dkt. 1-2 at 1.

But as the document indicates, these Cisco products provide, at best, individual security functions,

and not the “unified security system” recited by the claims. Dkt. 1-2 at 5. Plaintiff’s attempt to

incorporate these unrelated products does not overcome the fundamental flaw in its infringement

allegations – SAFE’s design principles are not a product, but rather a design framework that

customers can use to design their own security systems. See e.g., Ex. 1 at 6; Ex. 2 at 1-1. As the

home page for Cisco SAFE explains: “This Cisco security reference architecture features easy-to-

use visual icons that help you design a secure infrastructure for the edge, branch, data center,

campus, cloud, and WAN. The framework encompasses operational domains such as management,

security intelligence, compliance, segmentation, threat defense, and secure services.” Ex. 4 (home

page for Cisco SAFE). In other words, Cisco SAFE cannot be a “security subsystem;” it is simply

a design tool that allows third-parties to design their network security architectures in accordance

with industry best-practices and with each business’s specific needs.

       Limitation (a) similarly recites a physical element: “an open platform” that “execute[es]

security function software modules from multiple vendors for providing defense functions for

protection of the host.” Dkt. 1-2 at 5. But to satisfy this limitation, Plaintiff once again relies on




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depictions of the Cisco SAFE reference architecture – which is not an actual “platform” or

“device,” but simply an approach to network design that third-parties may adopt. Citing Figure 1

(reproduced below), Plaintiff’s claim chart states that “business flows are analyzed to determine

required security capabilities, which demonstrate protection of host of an endpoint.” But this figure

does not identify any actual Cisco product that would serve as the “open platform.” Id. at 6.




       The claim chart further attempts to incorporate unrelated Cisco products by alleging that

an “agent of Cisco SAFE checks the operation against the security policy for threats.” Dkt. 1-2 at

5. According to the Complaint, this purported “agent” of Cisco SAFE is CSA (Cisco Security

Agent) “which provides defense-in-depth protection…by combining security policies,” defined as

“collections of rules that IT or security administrators assign to protect servers and desktops,” for

businesses. Id. But Plaintiff’s claim chart provides no basis at all for concluding that CSA or SAFE

provides a platform for integrating security modules from different vendors as required by

Limitation (a).




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       IV.     ARGUMENT

                       The Asserted Patent is Directed to Ineligible Subject Matter

       The sole claim charted in the complaint – Claim 14 – is patent-ineligible under Alice Corp.

Pty. v. CLS Bank International, 573 U.S. 208 (2014) and its progeny.

                       1.      Alice Step One

       The ʼ799 Patent contains only a single asserted independent claim, Claim 14, which is the

sole claim charted in Plaintiff’s complaint. Claim 14 recites nothing more than the abstract idea

of an intermediary platform for receiving and executing security software modules from multiple

vendors. The preamble of claim 14 recites a “security subsystem configurable between a network

and a host of an endpoint.” ʼ799 Patent at 19:47-52. The security system – i.e., the apparatus of

the claim – is defined only in terms of the function that it performs: it is configured for “receiving

and executing security functions software modules from multiple vendors for providing defense

functions for protection of the host.” Id. The use of this type of “result-focused, functional

character of claim language . . . has been a frequent feature of claims held ineligible under § 101.”

Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1356 (Fed. Cir. 2016); see also cxLoyalty,

Inc. v. Maritz Holdings Inc., 986 F.3d 1367, 1380 (Fed. Cir. 2021) (holding as patent-ineligible a

claim for a “platform” which “provides the ability for a participant to use a single loyalty program

GUI to make points-based purchases directly from multiple third-party vendor systems via

multiple APIs.”).

       The “security sub-system” containing an “open platform” is directed to nothing more than

the abstract idea of integrating and managing tools from multiple sources. The claimed system

situated “between a network and a host of an endpoint” facilitates exchanges of information

between a host system (i.e., corporate or residential users) and vendor systems. ʼ799 Patent at

19:47-52. In Plaintiff’s own words, the system of Claim 14 “protect[s] endpoint computing


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systems” by “managing, providing, and obtaining security functions.” Dkt. 1, ¶ 14.

       The security subsystem described in Claim 14 amounts to no more taking security tools

from multiple sources and combining them into one “open platform,” which is inherently abstract.

“The mere combination of []sources, however, does not make the claims patent eligible.”

FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1096–97 (Fed. Cir. 2016). The abstract

idea described in Claim 14 is analogous to a toolbox containing various tools such as a hammer,

screwdriver, and saw. Each tool may come from a different source – a hammer from Craftsmen, a

screwdriver from DeWALT, and a saw from Makita – and may perform a different function. But

even if someone takes these tools and combines them in a single toolbox, the system is merely a

result of applying the abstract idea of combining existing sources into a single package without

altering the features of any individual tool. See e-Numerate Sols., Inc. v. United States, 149 Fed.

Cl. 563, 584 (2020) (“The mere combination of data sources, however, does not make the claims

patent eligible”); NexusCard, Inc. v. Kroger Co., 173 F. Supp. 3d 462, 467 (E.D. Tex. 2016), aff'd,

688 F. App'x 916 (Fed. Cir. 2017) (“[D]escribing two abstract ideas in connection with each

other…does not cause either abstract idea to then become a concrete thing.”); see also Credit

Acceptance Corp. v. Westlake Servs., 859 F.3d 1044, 1055–56 (Fed. Cir. 2017) (holding that

claims directed to “configuring a computer system to combine data from multiple electronic data

sources” are inherently abstract).

       The claim at issue here is akin to those held ineligible in Universal Secure Registry LLC v.

Apple Inc. 10 F.4th 1342, 1353 (Fed. Cir. 2021), cert. denied, 212 L. Ed. 2d 778, 142 S. Ct. 2707

(2022). There, the Federal Circuit analyzed the patentability of a system which combined multiple

existing security techniques including biometric authentication, multi-factor authentication, and

authentication using multiple devices to verify the identity of a user in financial transactions. Id.




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The Federal Circuit found that the patent claims were directed to the abstract idea of combining

multiple conventional authentication techniques, and that simply combining the tools into a single

package is abstract absent any novel elements or additional functionality of any of the individual

tools. Id. (finding the claimed system unpatentable as “merely a combination of known

authentication techniques that yields only expected results.”).

       Plaintiff’s conclusory allegation that the claims of the ’799 Patent “comprise non-

conventional approaches that transform the inventions as claimed into substantially more than

mere abstract ideas” and “are not drawn . . . to abstract ideas” cannot save the claims. Conclusory

allegations are given no weight in Section 101 analysis at the Rule 12 stage. Simio, LLC v. FlexSim

Software Prods., Inc., 983 F.3d 1353, 1365 (Fed. Cir. 2020).

       And even a novel combination of abstract elements alone is not sufficient to make

otherwise abstract ideas patentable. “[N]o patent is available…however useful, novel, and

nonobvious, unless it falls within one of the express categories of patentable subject matter.”

Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 483 (1974). “In addressing the first step of the

section 101 inquiry, as applied to a computer-implemented invention,” it is important “to ask

whether the claims are directed to ‘an improvement in the functioning of a computer,’ or merely

‘adding conventional computer components to well-known business practices.’” Affinity Labs of

Tex., LLC, 838 F.3d at 1270 (quoting Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1338 (Fed.

Cir. 2016)). Claim 14 of the ʼ799 Patent cannot claim any such improvement because it simply

discusses the integration of multiple security software “modules” without any actual improvement

of the underlying technology beyond the implementation of computer-based tools used to combine

well-known security “security modules” offered by other vendors. See Customedia Techs., LLC v.

Dish Network Corp., 951 F.3d 1359, 1364 (Fed. Cir. 2020) (holding that eligible subject-matter in




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this context “require[s] the claims to be directed to an improvement in the functionality of the

computer or network platform itself.”).

                       2.      Alice Step Two

       Asserted Claim 14 also fails at Alice step two because no inventive concept can be

identified in the claim. As an initial matter, Plaintiff’s conclusory allegation that the ’799 Patent

contains “inventive concepts which transform the underlying non-abstract aspects of the claims

into patent-eligible subject matter” (Dkt. 1, § 21) cannot help it survive a Rule 12 challenge.

Federal Circuit precedent requires those allegations be given no weight. Simio, 983 F.3d at 1365.

       And while the Complaint alleges that “conventionally, the deployment of defense functions

in enterprise networks can be network-based or host-based, or both,” and that “host-based

[immunization] … requires an agent to be installed in each host,” and that “deployed security

infrastructure consisting of multiple defense and immunization functions may burden the host.”

Dkt. 1, ¶ 15. Setting aside that these allegations contain no factual support, the only proposed

solution is the abstract idea of putting the various defense software and immunization functions

into an “open platform.” Where, as here, the supposed inventive concept is wholly in the realm of

the abstract, the claims do not contain an inventive concept and cannot survive at Alice Step Two.

See SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1170 (Fed. Cir. 2018) (finding claim ineligible

at Alice Step Two because “[t]here is, in short, nothing ‘inventive’ about any claim details,

individually or in combination, that are not themselves in the realm of abstract ideas.”).

       In addition, Claim 14 only recites generic and conventional computer components (i.e.,

‘computing resources,’ ‘network,’ and ‘endpoint’) and functionality for carrying out the abstract

idea of combining of well-known and non-novel tools offered by others. See e.g., Free Stream

Media Corp. v. Alphonso Inc., 996 F.3d 1355, 1366 (Fed. Cir. 2021) (holding “the claimed




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elements … comprise generic computing components—e.g., ‘servers’—arranged in a

conventional manner and thus do[] not transform the claim into something other than the abstract

idea”). Notably, nowhere does Claim 14 recite any computer or software that is an advance over

conventional technology. Parus Holdings Inc. v. Sallie Mae Bank, 137 F. Supp. 3d 660, 674 (D.

Del. 2015), aff’d, 677 F. App’x 682 (Fed. Cir. 2017) (finding the claims at issue lacked an inventive

concept because they were not sufficiently specific and did not “reference any customization” of

the hardware and software described in the claims).

       And Claim 14 does not recite any unique security methods, but rather, an “open platform”

to aggregate already known methods, i.e., a toolbox. This claimed combination recites nothing

more than the “combination of long-standing conventional methods” for security which would

“yield[] expected results of an additive increase in security” from each individual vendor’s module.

Universal Secure Registry LLC, 10 F.4th at 1353. While “[i]mproving security … can be a non-

abstract computer-functionality improvement if done by a specific technique that departs from

earlier approaches to solve a specific computer problem,” and nothing in the record suggests such

a technological improvement. CosmoKey Sols. GmbH & Co. KG v. Duo Sec. LLC, 15 F.4th 1091,

1096–97 (Fed. Cir. 2021). “There is nothing in the specification suggesting, or any other factual

basis for a plausible inference (as needed to avoid dismissal), that the claimed combination of these

conventional [] techniques achieves more than the expected sum of the security provided by each

technique.” Universal Secure Registry LLC, 10 F.4th at 1353. There is nothing in Claim 14 that

can save it at Alice Step Two.

                       Plaintiff Makes No Plausible Allegations of Direct Infringement

       To properly plead infringement against Cisco, there must be some plausible allegation that

Cisco “makes, uses, offers to sell, or sells” the patented invention. 35 U.S.C. § 271(a). “In order

to ‘make’ the system under § 271(a), [a defendant] would need to combine all of the claim


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elements.” Centillion, 631 F.3d at 1288. Similarly, “[t]o ‘use’ the system, [a defendant] must put

the claimed invention into service, i.e., control the system and obtain benefit from it.” Id. at 1286.

Here, the documents Plaintiff cites to fatally contradict the plausibility of its own direct

infringement allegations in at least two ways: (1) Cisco SAFE is not a definable “system” at all,

but a reference framework uses to evaluate and guide network design (See Ex. 1. at 5-6), and (2)

even if an infringing platform did exist, such a platform would be deployed and controlled by

parties other than Cisco. See De La Vega, 2020 WL 3528411, at *6-7.

                       1.      Plaintiff Does Not Allege Cisco “Makes,” “Uses,” or “Sells”
                               Any Infringing Product or Thing

       The Complaint fails as a matter of law because it fails to accuse any actual Cisco products,

and further fails to allege that any infringing systems, from Cisco or otherwise, exists. Plaintiff

relies heavily on excerpts and figures from a document entitled “SAFE Overview Guide: Threats,

Capabilities, and the Security Reference Architecture” for the conclusory assertion that Cisco

SAFE provides the “security subsystem,” also described in the complaint as a “unified security

management system,” of the ʼ799 Patent. See Ex. 1 (emphasis added); Complaint, ¶ 14. Despite

Plaintiff’s conclusory assertions parroting the claim language, the purported “accused

instrumentality,” Cisco SAFE is merely a conceptual reference model and not an actual “security

subsystem.” See Dkt. 1-2 at 4. This document, including the title and the excerpts Plaintiff

specifically relies on, all make clear that Cisco SAFE is nothing but a generic reference framework

representing broad design guidelines and industry best-practices. See Dkt. 1-2 at 1-2, 4; see also

Ex. 1 at 6 (“SAFE is not a single answer. The model is a reference for common threats, risks, and

policies across the business of a company.”). The same is true for the only other document Plaintiff

relies on in its claim chart. See e.g., Dkt. 1-2 at 5-6 (claim chart relying only generic building

blocks like “web security,” “firewall,” and “identity.”); Ex. 2 at 11-1 (“Cisco SAFE advocates for



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the continuous education of end-users on current threats and security measures.”). Nothing in

either document Plaintiff relies on plausibly indicates that Cisco SAFE is “made” or “used” by

Cisco, or that Cisco “sells” the “security subsystem” of the patented claim— whether it is as an

individual product or as a bundle of products. See 35 U.S.C. § 271(a); see also Centillion Data

Sys., LLC v. Qwest Communs. Int’l., 631 F.3d 1279, 1286-88 (holding as a matter of law that the

accused infringer did not “make” or “use” the claimed system because it did not manufacture and

combine all the components, or the put the system into service).

       In fact, Plaintiff cannot point to even a single concrete system (from Cisco or from any

other party) that infringes the ʼ799 Patent, nor has it “presented anything other than speculation

that such a network might actually exist.” Dynacore Holdings Corp. v. U.S. Philips Corp., 363

F.3d 1263, 1277 (Fed. Cir. 2004). Limitation (a) of the asserted claim requires “an open platform

for receiving and executing security function software modules from multiple vendors for

providing defense functions for protection of the host.” The Complaint does not offer any

explanation of what the accused “platform” is, what entity is using the system, what “vendors” are

being integrated, what security software is being “receiv[ed] and execut[ed]” on the platform, etc.

For example, the diagram included in Plaintiff’s claim chart, implied to be depicting the infringing

“platform,” is just a stock diagram used to illustrate business flows and security capabilities of a

generic fictional enterprise. See Dkt. 1-2 at 6. Instead, Plaintiff resorts to parroting claim language

that Cisco SAFE provides a “platform,” “software modules,” and integration with “multiple

vendors.” See generally Dkt. 1-2. Without identifying any actual product or system, Plaintiff’s

attempts to rely on its identification of generic terms in Cisco SAFE documents do little more than

raise “a theoretical possibility” of actual infringement. Dynacore, 363 F.3d at 1277. Ultimately,

the Complaint’s allegations “merely track the claim language” and are “insufficient to give rise to




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a reasonable inference” that any infringing system exists. Vervain, LLC v. Micron Tech., Inc., 2022

WL 23469, at *7 (W.D. Tex. Jan. 3, 2022) (citation omitted). Lastly, the Complaint alleges,

without factual basis, that Cisco “has and continues to directly infringe … by having its employees

internally test and use these exemplary Accused Instrumentalities.” Complaint, ¶32. The Court

should not blindly accept such “conclusory allegations or legal conclusions masquerading as

factual conclusions.” Taylor v. Books A Million, Inc., 296 F.3d 376, 378 (5th Cir. 2002); see also

Chhim v. Univ. of Tex. At Austin, 836 F.3d 467, 469 (5th Cir. 2016).

                       2.      Direct Infringement of a System Claim Cannot Be Satisfied by
                               Different Parties

       Even if Plaintiff could plausibly allege the existence of any actual infringing systems, the

Complaint nevertheless fails to advance any theory by which any direct infringement can be

satisfied by Cisco. See Ruby Sands LLC, 2016 WL 3542430 at *4. The Cisco SAFE documents

that Plaintiff relies on expressly indicate that Cisco SAFE is a reference tool for helping other

companies design and evaluate their own networks. See Ex. 1 at 5 (“This Cisco security reference

architecture features easy-to-use visual icons that help you design a secure infrastructure for the

edge, branch, data center, campus, cloud, and WAN.”). In other words, any hypothetical infringing

network would be deployed and operated by third-parties, not Cisco. But various limitations of a

system claim cannot be provided by different parties – each of the limitations must be satisfied by

a single infringer. See Centillion, 631 F.3d at 1288. “Where, as here, the factual allegations are

actually inconsistent with and contradict infringement, they are likewise insufficient to state a

plausible claim.” Bot M8 LLC v. Sony Corp. of Am., 4 F.4th 1342, 1354 (Fed. Cir. 2021).

                       3.      The Assortment of Other Cisco Products Cited in the Claim
                               Chart Are Irrelevant

       Because Cisco does not make, sell or use the “security subsystem” of the asserted patent,

Plaintiff is forced to misrepresent other irrelevant Cisco products to satisfy the claim limitations,


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such as CSA (Cisco Security Agent), CS-MARS, and Cisco IPS. Plaintiff’s attempt to rely on these

unrelated Cisco products is both factually implausible and legally insufficient.

       First, CSA, and CS-MARS are all products that have not been sold or supported by Cisco

for over 10 years.1 Cisco retired CSA around 2010 and no longer sells or supports the product,

meaning that the six-year statute of limitations would have already run even if those products did

infringe (which Plaintiff does not plausibly allege). See 35 U.S. Code § 286. Plaintiff could easily

have discovered this fact with a cursory investigation before relying on these long-discontinued

products to cobble together its infringement allegations.

       Second, Plaintiff has not plausibly alleged that these other Cisco products are relevant to

the accused instrumentality or to the claimed system of the ʼ799 patent. For example, Plaintiff’s

claim chart also cites to the SAFE Reference Guide stating that “Cisco SAFE…leverages the

linkage between Cisco Security Manager and CS-MARS to simply management and to expedite

troubleshooting and threat mitigation.” Dkt. 1-2. at 3. But to the extent that Plaintiff is attempting

to characterize these products as components of the accused instrumentality, the Complaint offers

no explanation of how these unrelated products can be considered essential components of a Cisco

SAFE “system” when Cisco SAFE is not a “system” at all—the documents specify that Cisco

SAFE does not contain a specific design or set of instructions, and is not tied to any particular

business or product. See also Ex. 1 at 6 (“SAFE is not a single answer…Obviously, the concerns

of retailers are not the same as the needs of healthcare organizations.”).

       Third, Plaintiff fails to allege that these products can meet the claim limitations of the



1
 See e.g., https://www.cisco.com/c/en/us/obsolete/security/cisco-security-monitoring-analysis-
and-response-system.html (CS-MARS discontinued in 2011 and supported ended in 2016);
https://www.cisco.com/c/en/us/obsolete/security/cisco-security-agent.html (CSA discontinued in
2010 and support ended in 2013).


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asserted patent even assuming them to be components of a hypothetical Cisco SAFE “system.”

For example, Plaintiff alleges that CSA “checks the security policy for threats” and “combin[es]

security policies.” But simply combining security policies falls well short of a platform for

“receiving and executing” security software that integrates products from “multiple vendors,” as

required by the claim. See ʼ799 Patent at 19:50-52. Similarly, to the extent that Plaintiff relies on

Cisco IPS products as providing “defense functions for protection of the host,” that is also

insufficient. See Dkt. 1-2 at 3, 5. Plaintiff fails to address substance of the claim, which is directed

to an “open platform” capable of “receiving and executing” security software from “multiple

vendors.” ʼ799 Patent at 19:50-52. Lastly, with respect to CSM or CS-MARS, the Complaint again

entirely fails to allege provide users with the functionality for deploying a “unified security

system” and “open platform” capable of integrating security software modules from multiple

vendors, as required by the asserted claim. Therefore, to the extent that Plaintiff is accusing any of

these other Cisco products, the Complaint simply fails to “articulate why it is plausible that the

accused product infringes the patent claim.” Vervain, 2022 WL 23469, at *7 (citing Bot M8, 4 F4th

at 1354).

        Finally, as discussed in the section above, direct infringement of a system claim requires

that the accused infringer combines or puts into service the entire system, including all claim

elements. See Ruby Sands LLC, 2016 WL 3542430 at *4. The various limitations of a system claim

cannot be provided by different parties – each of the limitations must be satisfied by a single

infringer. See Centillion, 631 F.3d at 1288. Cisco exercises no control over its customers’ networks

or security architecture. It cannot choose how its customers install, combine, or deploy its products.

In other words, any hypothetical infringing network would be deployed and operated by third

parties, not by Cisco.




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       In sum, Plaintiff “makes no factual allegations that even remotely suggest that” Cisco

makes, uses, offers to sell, sells or otherwise provides a “security subsystem” as recited in Claim

14. Ruby Sands LLC, 2016 WL 3542430, at *4; see also De La Vega, 2020 WL 3528411, at *6-7;

Mosaic Brands v. Ridge Wallet LLC, 2020 WL 5640233, at *4 (C.D. Cal. Sept. 3, 2020)

(dismissing complaint for “failure to plausibly identify in the claim charts multiple limitations of

Claim 1 of the [asserted patent.]”). Because the same documents Plaintiff relies on demonstrate

that Plaintiff has no plausible direct infringement allegation, amendment would be futile and

Plaintiff’s Complaint should be dismissed with prejudice. See De La Vega, 2020 WL 3528411, at

*6-7; Ruby Sands LLC, 2016 WL 3542430, at *4.

                       Plaintiff’s Claims for Pre-Suit Indirect Infringement Should be
                       Dismissed

       Plaintiff also fails to plead any pre-suit knowledge of the ’799 patent, as required to support

a claim for indirect infringement (inducement or contributory infringement). BillJCo, LLC v. Apple

Inc., 583 F. Supp. 3d 769, 777-778 (W.D. Tex. 2022). Plaintiff similarly fails to plead that Cisco

SAFE has no substantial non-infringing uses, as required to plausibly allege contributory

infringement. Id. at 782 (dismissing contributory infringement claim because patentee “offer[ed]

nothing to support [its] contention” that accused product had no substantial non-infringing uses).

       V.      CONCLUSION

       For the foregoing reasons, Cisco respectfully requests that this Court dismiss Speech

Transcription, LLC’s Complaint with prejudice for failure to state a claim.




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Dated: July 24, 2023                  Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that the foregoing document was served upon all counsel of record via the Court’s

CM/ECF electronic filing system in accordance with the Federal Rules of Civil Procedure on July

24, 2023.

                                                /s/ Krishnan Padmanabhan




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